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     Fill in this information to identify the case:

     Debtor 1 SHAD ALLEN ERVIN
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the: Southern District of Ohio
     Case number 2:19-bk-57037




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                      12/15

 If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                               Court claim no. (if known): 3
  Last four digits of any number you           2772                           Date of payment change:                    11/01/2024
  use to identify the debtor’s account:                                       Must be at least 21 days after date of
                                                                              this notice

                                                                              New total payment:                        $1,804.82
                                                                              Principal, interest, and escrow, if any

  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non bankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 592.82             New escrow payment:        $ 604.62



  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %             New interest rate:                               %

               Current principal and interest payment: $ _________              New principal and interest payment: $ __


  Part 3: Other Payment Change
     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
           modification agreement. (Court approval may be required before the payment change can take effect.)

               Reason for change:


               Current mortgage payment: $                         New mortgage payment: $




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   Debtor1   SHAD ALLEN ERVIN                                        Case number (if known) 2:19-bk-57037
             First Name           Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Patrick Hruby
       Signature
                                                                                     Date 09/23/2024



   Print: Patrick Hruby (0085107)
         First Name           Middle Name           Last Name                        Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                        Email OHBKR@Brockandscott.com




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                                       UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF OHIO
                                              COLUMBUS DIVISION


 IN RE:                                                           CASE NO. 2:19-BK-57037
 SHAD ALLEN ERVIN                                                 CHAPTER 13
                             DEBTOR                               JUDGE: MINA NAMI KHORRAMI



                                              CERTIFICATE OF SERVICE

         I hereby certify that on this day a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on the date of filing through the court’s ECF System on all ECF participants registered in this case at
the email address registered with the court and by first class mail addressed to:

SHAD ALLEN ERVIN
416 CO. RD 142 NORTH
WEST MANSFIELD, OH 43358


September 23, 2024
                                                       /s/Patrick Hruby
                                                       Patrick Hruby, OH Bar No. 85107
                                                       Mark Dierks, OH Bar No. 40668
                                                       Attorney for Creditor
                                                       BROCK & SCOTT, PLLC
                                                       3825 Forrestgate Drive
                                                       Winston Salem, NC 27103
                                                       Telephone: (844) 856-6646
                                                       Facsimile: (704) 369-0760
                                                       E-Mail: OHBKR@brockandscott.com
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